                                                                                 Case 3:07-cv-05944-JST Document 1880 Filed 08/29/13 Page 1 of 1



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                                                                          9                             UNITED STATES DISTRICT COURT
                                                                         10                           NORTHERN DISTRICT OF CALIFORNIA
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                                                                         12    IN RE: CATHODE RAY TUBE (CRT)                           Master File No. CV-07-5944-SC
UNITED STATES DISTRICT COURT




                                                                               ANTITRUST LITIGATION
                               For the Northern District of California




                                                                         13                                                            MDL No. 1917
                                                                         14                                                            ORDER
                                                                         15
                                                                               _____________________________________/
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                                                                                     The Court wishes to thank Retired Judge Charles Legge for his services as Special Master in
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                                                                              MDL No. 1917, In RE: Cathode Ray Tube (CRT) Antitrust Litigation No. 07-5944-SC and all
                                                                         18
                                                                              related cases.
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                                                                                     The Court now finds that it no longer requires the services of a Special Master and hereby, as
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                                                                              of August 29, 2013, discharges Judge Legge from any further duties or services in said case.
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                                                                                     The parties in said case are hereby instructed to file all further documents and pleadings
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                                                                              directly to the chambers of Judge Samuel Conti, 17th Floor, U.S. Federal Court Building, 450
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                                                                              Golden Gate Avenue, San Francisco, California 94102.
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                                                                                     IT IS SO ORDERED.
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                                                                              Dated: August 29, 2013
                                                                         27                                                               _______________________________
                                                                                                                                          SAMUEL CONTI
                                                                         28                                                               United States District Court Judge
                                                                                                                                          Northern District of California
